Case 0:17-cr-60186-KMM Document 22 Entered on FLSD Docket 08/31/2017 Page 1 of 5




                            UN ITED STATES DISTRICT CO UR T
                            SO ITTHER N DISTRIG OF R OR D A

                              CaseN o.IM OI86-CR-M O R W SN O W

   UN ITO STATES O F AM ER ICA


   V5.

   AAR ON R OM AN BG       ER ,

                D efendant.
                                                       /


                         STIPULATED FACTUA L BA SIS FO R PLEA

           Hadthts caseproceeded totrk'tt the Unked States ofAnxrèa woV luw e proven beyond
   a reasom bk doubtthe foll
                           owing facts pertaining to vèktioas ofTG 21,Unked States Code,

   Sectèns 963 and 960@)(1)(A)and ilkpl reenA aer rex val in vbhtèn ofTkle 8,Unked
   StatesCode,Sectkm 1326(a)and (1941).
         On M amh l0,2017,a conYential source CCS') appmacld hw enforcenrnt with
   hfor> tion that SM ITH had asked the CS to use tlx CS's48-footpkasure cniser to mansport

   drup fmm Freepolt Balmnvqs, to FortI-atzerdak, Fbrka. '
                                                         Ihe CS'sboatwmsparked ataslip

   atIsk of Venke Drive, FortH uderdak, Floe a. n e C S nrt with SM ITH aM BU TLER on

   M ay l6,2017. n e recorded rrreting took phce aboard tlx CS'sboatms k was docked h Fort

   I.
    av erdak, Fbrda.

         SM ITH ard BUTLER ev ged in dtscttssb lks reN ding tlr paynrnt alxl dete         of

   traltspo> tion at the M ay 16th 2017 nxeting. O n tir M ay 16, 2017 recordinp SM ITI'I and

   BUTIXR aretlking abouttbisjobbeing atestbadtlkqtmllkadtohrger a11*11111 ofdrup and
Case 0:17-cr-60186-KMM Document 22 Entered on FLSD Docket 08/31/2017 Page 2 of 5




   krger pa- nts for the CS Kter. Tlxy dùcuss tluttlr CS wik be pakl$5,000 klUSC for tlr
   experkses ofthe trl
                     '
                     p. 'flxy abo dbctss that hb boatcouk lx)kl çQ000,''whib tlr C S kksbts tlkqt

   tlr boatcan only Ix)klûtl000.59 '
                                   1Xe CS wouk testf
                                                   ' thatthk conve> tbn lvfèrmd to 1000or
   2000poe soflm lijm na. SM ITH and BUFLER exphin ontherecording thatthk loadlmy be
   kss drup arxlbeççgreen''tlm ri
                                jtkqrnl and wzl iwolve 1sspro? fortlx CSbuttlmthter bads
   wid bei/hite''(cocaine)and iwolve nxllr proflt.
           OnJ* 21,2017,SMITH andPINDER rrrtwkh theCS andSMITH proe ed him with
   only $3,900inUSC tnot$5,000)asan m
                                    'l
                                     'tv
                                       'q1payrrrnt forthe CSto traveltoFreeport Balla> s,
   onthe CS'svesset ard pkk up mukiple kibgams ofcocakr from asotrce. SM I'
                                                                          IH advbed
   the C S tluat PIN DER wouk travelon the vessel w kh the CS âom Forttxav erdak, Fbrza, to

   Freeport Rnlmnuq,to pkk up the kibgarrs arxlrettxn to Forttav erdal on the vesselwkh tlr

   CS. The ag eerrrnt between tlx partks w astlutthe CS w oœ ne tain possesskm ofthe cocaine

   lmd his fee was pakl. A fee was dkctkssed of $3,000 per kzogam ofcocaine tlnt the CS

   e orted. Thisrrreting couk retberecorded.
          OnJ* 22,2017,arecordedrrreting takesphceontlx boat. SM ITH,incodedhnguage,
   dùctksses generazy thatthe CS win be paZ a certain fee in addkion to his expenses based on the

   anruntofdnlp e orted. SM ITH says1ç18''ontlw recording whkhtlr CSwouk 2st+
                                                                            * refers
   to 18 kibg arrs ofcocaine. SM ITH and PINDF.R are recorded ulkklg abouthow tlis bad w ill

   kadtobrgerbadsiwolving ::500pkces''(500kibgrans ofcocakr)andtMtmtrh rrnl'
                                                                           e nxmey
   w illbe lm de on those hter bads.

          OnJuly 28,2017,the CS,PINDER ard another indivzual traveling with the CS,departed
   on the CS'sboatfrom Fod laatderdab, Fbrza,destixd for Fxepol Bahalm s. W hik k was

                                                 2
Case 0:17-cr-60186-KMM Document 22 Entered on FLSD Docket 08/31/2017 Page 3 of 5




   stl daytl
           '
           rrr, they anived kltlx w aterœ ar Freeportarxlwere rrrtby ax ther snnlkr vesselw hose

   three occtpants transfenvd 15kibgl'
                                     ans ofcocakr on to tlx CS'svesset 'flr atxlè aM vzeo

   of this ckarly shows tlr tlrec indivd m ls and the traasfer of a bhck phstk trash bag. n e

   m cording bter se ws PIN DER stackbg tlx kibg am brkks ofcocae insze the cabkloftlx CS's

   vessel. n e CS,PINDEK alxlthethkd individm lthen ret- d to Ft.I-aY erdak.
          Dte g tlx rettmz trè,PINDER and the CS ilad severalconversatbrs reprding wlmt
   w ould M ppen w ith the cocakr once they arrived in Ft.l-av erdak. PIN DER toZ tlx CS tllat

   PINDER wouk have to stay wkh the cocaine and atone point PINDER bem n rrnving a hrge
   cookr tluatthe CS belkved PIN DER wasgoing to try and tkse to the takethe cocaine oF the vessel.

          Prbr to the vessel's anival i
                                      n Forttauderdak, hw enforce> nt establbl d surveillance

   in the area of Isle ofV enice Drive, the bcatbn w here tlx vesselw as expected to dock. Sool

   stn eilhœ e observed a dark g'ay N issan Altim coM uct cotmter-surveillax e by driving tp atd

   down the skeetin the area severaltix s. '
                                           lhù vehkle, rented kl BUR ER'S rurrr,nntcled the

   descrte n given by the CS ofthe velile H en by BUTLEK when the CS,SM ITH arxl
   BIJI'
       LG nrtearl r attluatsarrr bcatba

          After the CS's vessel arrived, SM ITH ard BLJTLER exked the dalk F ay N bsan A ltim a

   andwaked towardthevesset SM ITH tokltlx CStlut(contrarytothek prèrapeenxmt)Ix was
   taking the cocae oF the boatalxltlkathe wouk kave only one kzog am ofcocae for the CS.

          SM ITH then boarded the boatin orderto rex ve the cocaix. W hen the C S trkd to stop

   hiq SM ITH Fabbed tir CS by the œ ck and ptksled the CS to tlx Y or ofthe vesset SM ITH

   pointed atBUTLEK who wasx tonthe boat SM ITH tlxn tokltheCSO tBUTLF,R would shoot
   tlx CS T the CS trkd to stop hin from renrving the cocaine. n e thi'
                                                                      d indivklm l wouz testify
Case 0:17-cr-60186-KMM Document 22 Entered on FLSD Docket 08/31/2017 Page 4 of 5




   O tduring thetkrr SM Im wasV ing with the CS,BUTLER statedtothb e ividm lûDon't
   wony you guys wëlgetyournrrry''ard tlutBUTLER tok hkn Y tto getiwolved when SM ITH

   wasV ing wkh the CS.
          taw enforcec nt then e àted a takedown atwhkh point BUTLER & d on foot ard wms

   appreheM ed near the Altina. N o frearm w ms recovered. Aâer tlx takedov      SM I'J11, while

   lundcufred, took hù phone :om hù pocketalxlthrew k 11t0 tlr water. taw enforcec nt seled

   one phorr from BIJTLER and two ploœ s âom PINDER.

          During a recordiv in the sqm d car,SM ITH is tezing BIJTLER to telllaw enforcem ent

   tllathe ran because he always nms.

          A subseqœ nt search ofthevesselreveakd 15kibgrarrs ofcocae kl15 separatetfrkks''

   inske ofa bkck pbstk trash bag kt a cabe t kkske tlr CS's vesset Post-M iraaln, BUTLER

   che d tlkatir never exited the N bsan Altilm .

        BITI'LR           've arxl ce n of the Bahalm s, who attenpted to enter the United Sttes
                  k a rkqtz

   on Febnury 24,2012 wkIY G proper authority aboard a boat âom the m hnnmq. M er he w as

   apprelxM ed by immigration authorkies, he was renm ed to the Bnlmnuq on Jtme 14,2012 ard

   denèd perrnksèn to seek re-eno foratleastflve years. Tir renrval w as contenpo- ously
   docurrrnted on aForm 1-213,œl cting tlx defeM ant's flnm mrint ard photograpk asweë astle
   so ture ofan1
               *rrmligatèn oX ialwho we ssed therenxval
        O n M ay 16,2017,BIJTLER was fotmd to have volx rily rem ed to tlr United Sktes,

   wlrn lr attended a recorded rrreting w ith the CS and SM ITH iz Fod l-atderdak, Fbe a. O n

   July 28, 2017, BUR ER was arrested in Fort tav erdak, Fke a. Hk prèr relm val w ms

   coe rrrd at tllat tirrr ard conmuter circks of an Departrrrnt of H onrhwl Securky databases


                                                    4
Case 0:17-cr-60186-KMM Document 22 Entered on FLSD Docket 08/31/2017 Page 5 of 5




   reveakd tlhqtBUR ER dz notluve tlr expresscorsentoftlx Attonxy Germ lor11: sœ cessor,

   the Secretary ofHorrrknd Securky, to apply for readm bsèn to tlx U nked States.

         BIJTLG ù therefore X gally presentin the United States witlout pere sèn aoer hew ms

   previolsly renrved #om the Unked States.


                                               BEN JA M W G.GRM BERG
                                               AC TIN G > 1N STATES AW O RN EY


   Da*: thv7?v
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                                      By
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   I7ate. 8 K                              .
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                                               AU ORN W FOR DEFENDAN T


   oate:Q '
          ?o l                        BF
                                               A ARON RO M AN BUTLER
                                               DEFENDAN T
